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                             IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF MISSOURI
                                         AT KANSAS CITY

IN RE:                                                       )
                                                             )
INTERSTATE UNDERGROUND WAREHOUSE                             )        Case No. 21-40834-DRD
AND INDUSTRIAL PARK, INC.                                    )        Chapter 11
                                                             )
                   Debtor.                                   )

                                 RESPONSE TO OBJECTION TO CLAIM

           COMES NOW Creditor, CCC Capital Investments, LLC, by and through Counsel, Colin N.
Gotham, of Evans & Mullinix, P.A., and for its Response to the Objection to Claim, Court Claim No. 33,
states as follows:
    1. Creditor denies the facts and legal arguments contained in Debtor’s Objection to Claim.
    2. Upon information and belief, the alleged subsidiary, Seven at KC, LLC, was the alter ego of the
           Debtor. No corporate formalities were observed by Seven at KC, LLC and the Debtor.
    3. Creditor further asserts that the Debtor was the intended beneficiary of the advanced funds and
           Debtor specifically agreed to pay for the advance from Creditor.
    4. Upon information and belief, the funds were untimely utilized by the Debtor and not the alleged
           subsidiary.
    5. The corporate existence of Seven at KC, LLC is a sham, and otherwise should not be recognized
           as the entity was not properly formed and did not operate as a limited liability company.
    6. Creditor further asserts that additional discovery is needed to fully understand the issues and
           reserves the right to further amend and assert additional legal theories.
    WHEREFORE, Creditor, CCC Capital Investments, LLC, pays that this Court deny the Objection to
Claim and for such other relief as the Court deems just and equitable.
                                                     Respectfully Submitted:
                                                     EVANS & MULLINIX, P.A.

                                                     /s/ Colin N. Gotham
                                                     Colin N. Gotham, KS #19538; MO #52343
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                                                     CCC Capital Investments, LLC


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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 19, 2022, a true and correct copy of the foregoing was
electronically filed with the court using the CM/ECF system which sent notification to all parties of
interest participating in the CM/ECF system and via U.S. First Class Mail, postage prepaid to the
following:

Erlene Krigel
Krigel & Krigel, PC
4520 Main Street, Suite 700
Kansas City, MO 64111
                                              /s/ Colin N. Gotham
                                              Colin N. Gotham




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